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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO
                                  ___________________________

UNITED STATES OF AMERICA,

                 Plaintiff,

        vs.                                                                          No. 1:23-cr-1614-WJ

CHRISTOPHER CHAVEZ,

                 Defendant.


                 MEMORANDUM OPINION AND ORDER
    DENYING DEFENDANT’S REQUEST TO PRESERVE EXCESS CONTRABAND

        THIS MATTER comes before the Court following a hearing on Defendant’s Motion to

Preserve Evidence (Doc. 21) and the United States’ Response (Doc. 22). Having reviewed the

pleadings of the parties, heard the oral arguments of counsel, and considered the applicable law,

the Court finds the Defendant’s motion is not well taken and is therefore DENIED.

                                             BACKGROUND

        Defendant Chavez is charged with “unlawfully, knowingly, and intentionally possess[ing]

with intent to distribute” more than 400 grams of fentanyl and more than 50 grams of

methamphetamine in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(vi), and (b)(1)(B)(viii). Doc.

15. The Drug Enforcement Administration (DEA) is currently in possession of approximately

“450.2 gross grams of suspected methamphetamine” and 12731 “gross grams of suspected

fentanyl.” Doc. 21-1 at 1.




1
  The DEA has two exhibits in evidence containing “suspected fentanyl.” Doc. 21-1. Exhibit 11 contains
approximately 1120.9 gross grams of fentanyl and Exhibit 12 contains approximately 152.1 gross grams of fentanyl.
For the purposes of this motion, the total amount of fentanyl has been added together—equaling 1273 gross grams.

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        Pursuant to federal law enforcement policy, excess or bulk drug evidence is destroyed.

Docs. 21-1 & 21-2. On October 16, 2023, the DEA informed the Government of the pending

destruction—which the Government then relayed to Defense Counsel on November 16, 2023. Id.

After receipt of this notice, Defendant filed the instant motion seeking an order to preserve the

entirety of the seized contraband. Doc. 21. Because of the pending expiration of the 60-day

timeline in the “Drug Evidence Destruction Notice” (Doc. 21-1), on November 30, 2023, the Court

issued an Order temporarily extending the destruction period. Doc. 23. The Court directed the

destruction date “be extended for a period of 90 days, to March 12, 2024.” Id. at 2.

        Prior to the filing of Defendant’s Reply (Doc. 29), discovery2 was provided to Defense and

the contraband evidence was inspected. This discovery includes laboratory results3 of the

contraband. Id. at 1.

        On January 3, 2024, the Court held a hearing to permanently resolve the preservation

versus destruction issue.

                                               DISCUSSION

I. Destruction of Evidence Standard

        Destruction (or preservation) of evidence in a criminal case is reviewed through the Due

Process Clause. See United States v. Webster, 625 F.3d 439, 447–48 (10th Cir. 2010) (citing

California v. Trombetta, 467 U.S. 479, 488 (1984)). As the policy explains, “large quantities of

seized contraband drugs . . . are unnecessary for due process in criminal cases.” 28 C.F.R.

§ 50.21(c). Thus, destruction of excess contraband consistent with standard procedures does not

infringe upon Defendant’s due process rights. Illinois v. Fisher, 540 U.S. 544, 545 (2004).



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  Defendant’s argument (Doc. 21 at 2–3) for preservation of all contraband evidence under Fed. R. Crim. P. 16 is
therefore MOOT.
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  Much the same, Defendant’s argument (Doc. 21 at 2–3) regarding the need for laboratory testing is also MOOT.

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         In fact, the Government has a “usual practice of destroying excess quantities” of

contraband. United States v. McKenzie, 13 F.4th 223, 231 (2d Cir. 2021). This policy instructs the

“agency having custody of contraband drugs seized pursuant to a criminal investigation” to destroy

the excess contraband unless the prosecution requests (in writing) that the contraband be preserved.

United States v. Deaner, 1 F.3d 192, 200 (3d Cir. 1993) (citing 20 C.F.R. § 50.21(e)(1)).

         Despite this usual practice, Defendant requests the Government preserve “the full quantity

of the drugs.” Doc. 29 at 2.

II. Due Process Analysis

         In order to establish a due process violation pursuant to this framework, a Defendant must

show: (1) either that the evidence had an exculpatory value that was apparent prior to its destruction

or that the government acted in bad faith destroying potentially useful evidence; and (2) that the

evidence was irreplaceable. Trombetta, 467 U.S. at 485; Arizona v. Youngblood, 488 U.S. 51, 55

(1988). Here, the entirety of the contraband evidence is not pending destruction—rather, only the

portions exceeding 100 grams of methamphetamine and 800 grams of fentanyl. Doc. 22 at 4. And,

as here, when evidence is destroyed based on routine practice, the traditional notions of due process

are not offended. United States v. Toro-Barboza, 673 F.3d 1136, 1150 (9th Cir. 2012).

         Defendant’s motion is vague and conclusory as to the potential usefulness (i.e., materiality)

of the excess drug evidence pending destruction (Docs. 21 & 29). Defendant alleges the drugs

“must be preserved because they are exculpatory.” Doc. 29 at 2. But Defendant offers no

explanation on how the evidence is exculpatory.4 To this point, Defendant does not challenge the




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  The exculpatory nature of the excess contraband lay “only in the potential results that might be obtained from further
tests,” therefore meaning “the exculpatory value was latent, rather than patent” and cannot be apparent. United States
v. Dudley, No. 18-cr-286, 2019 U.S. Dist. LEXIS 189054, at *7 (D. Colo. Oct. 31, 2019) (citing Bohl, 25 F.3d at 910).
When evidence might be “potentially useful” if it was “subjected to tests” then the Youngblood standard applies. In
such cases, Defense must prove “bad faith” in destruction by the Government. Bohl, 25 F.3d at 910.

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Government followed the required regulatory procedures. The Parties agree that laboratory testing

was conducted, the contraband was weighed, photographs of the narcotics were taken and retained,

and “twice the minimum amount required for the most severe mandatory minimum sentence” will

be retained (Doc. 22 at 5; Doc. 29 at 1). See 28 C.F.R. § 50.21(e)(2)–(4).

       Defendant failed to meet his burden of establishing a due process violation by the pending

destruction of evidence. Defense is not asking that the entire sample be tested nor is he requesting

independent chemical testing (Doc. 29 at 4). Instead, it appears Defendant requests the entirety of

the drug contraband be retained in case he decides to request fingerprint testing (as well as to

display to the jury). Id. at 3. When, as here, a preservation request is based upon potential future

testing with unknown results—it necessarily follows that the evidence cannot possess “apparent”

exculpatory value. Trombetta, 467 U.S. at 489. Instead, the bulk contraband can only be said to be

“potentially useful.” Compare Youngblood, 488 U.S. at 58 (“Unless a criminal defendant can show

bad faith on the part of the police, failure to preserve potentially useful evidence does not constitute

a denial of due process of law.”), with Trombetta, 467 U.S. at 489 (explaining that “materiality”

means evidence must be apparently exculpatory); cf. United States v. Bohl, 25 F.3d 904, 910 (10th

Cir. 1994) (explaining what is required to prevail under the Trombetta and Youngblood standards).

       Courts routinely conclude that additional testing that could have been recovered is not

exculpatory, let alone apparently exculpatory. Hubanks v. Frank, 392 F.3d 926, 931 (7th Cir.

2004); Zapien v. Davis, 849 F.3d 787, 792 (9th Cir. 2016); United States v. Russell, 604 F. App’x

193, 196 (3d Cir. 2015). Simply because the Government has not linked the contraband to Mr.

Chavez by DNA testing “does not mean the evidence will be exculpatory.” United States v. Rogers,

No. 10-10140, 2010 U.S. Dist. LEXIS 128049, at *9 (D. Kan. Dec. 3, 2010). Despite Defendant’s

protestations that the evidence will be exculpatory, it nevertheless remains that the would-be test



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results will not (and cannot), on their own, prove that the Defendant was not in possession of the

drugs. See generally United States v. Smith, 534 F.3d 1211, 1224–25 (10th Cir. 2008).

       Lastly, destruction of the excess drugs raises no issue under Apprendi v. New Jersey, 530

U.S. 466 (2000), because the Indictment (Doc. 15) charges amounts in excess of 400 grams of

fentanyl and 50 grams of methamphetamine—and the Government will retain twice that amount

(Doc. 22 at 4). Defendant’s argument regarding jury bias or prejudice from destruction (Doc. 29

at 2–3) are not well taken. Having already disposed of the other arguments, the Court finds

destruction of the excess contraband does not infringe upon Mr. Chavez’s due process rights.

III. Statutory Construction
       The Court would be remiss to conclude its analysis without commenting on the text and

structure of the applicable statute and regulation. Here, the Attorney General “direct[s] the

destruction” of drug contraband pursuant to 21 U.S.C. § 881 and 28 C.F.R. § 50.21. The regulation

is designed to “prevent the warehousing of large quantities of seized contraband drugs which are

unnecessary for due process in criminal cases.” 28 C.F.R. § 50.21(c). Housing excess contraband

drugs “presents inordinate security and storage problems which create additional economic

burdens” on the Government. Id. Law enforcement agencies are responsible for “destroy[ing]

excess contraband drugs.” 28 C.F.R. § 50.21(f); 21 U.S.C. § 881(f)(2).

       All that the regulation requires is the law enforcement agency (here, the DEA) “notify the

appropriate U.S. Attorney, Assistant U.S. Attorney . . . that the amount of seized contraband drug

exceeding the threshold amount and its packaging, will be destroyed after sixty days from the date

notice is provided of the seizures.” 28 C.F.R. § 50.21(e)(1). The regulation does not require notice

to the Defendants. See United States v. Gomez, 191 F.3d 1214, 1219 (10th Cir. 1999) (“We have

found no statutory or regulatory requirement that defendants or potential defendants, against whom

the soon-to-be-destroyed evidence is to be used, be given notice of the destruction.”) (cleaned up).

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Although the Government chose to forward this notice to Defense, the Parties have not

demonstrated there was any obligation to do so. United States v. Michael, No. 06-cr-1833, 2007

U.S. Dist. LEXIS 105143 (D.N.M. 2007) (citing United States v. Atencio, 435 F.3d 1222, 1232

(10th Cir. 2006)).

       A plain reading of the regulation demonstrates storage of “excess contraband” creates

“additional economic burdens.” 28 C.F.R. § 50.21(c). Although Defense argues the excess drug

contraband here is “not voluminous,” Doc. 29 at 6, they are silent as to the existence of

“additional” economic burdens placed on the Government. But the text of the regulation must be

construed as a whole. ANTONIN SCALIA & BRYAN A. GARNER, Reading Law: The Interpretation

of Legal Texts 167 (2012) (interpreting meaning requires a consideration of the “whole-text

canon”). Upon review, it becomes apparent the regulation was instituted to prevent “security and

storage problems” of housing “excess” contraband because of the “additional economic burden”

in the aggregate. On an individual level, much can be made about the term “inordinate.” But the

Department of Justice policy is concerned with warehousing and stockpiling nationwide. Thus, in

implementing this regulation, Schedule I and II contraband is presumed to be subject to

destruction.

       The policy “implements the authority of the Attorney General . . . codified at 21 U.S.C.

881(f)(2), to direct the destruction, as necessary, of Schedule I and II contraband substances.” 28

C.F.R. § 50.21(b). In a duel between “direct the destruction” and “as necessary,” who wins?

Fortunately, the harmonious-reading canon provides further insight. See SCALIA & GARNER,

Reading Law at 180–82 (detailing a preference for construing provisions “together and in

harmony” rather than “by critical analysis of a single provision”). If the “Procedures governing the

destruction of contraband drug evidence in the custody of Federal law enforcement authorities” is



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to have any teeth, then it must mean that destruction is presumed. This is supported by

subparagraph (f)(2)—which states “the U.S. Attorney or the District Attorney (or equivalent) may:

request an exception to the destruction policy.”

          Finally, take the “title and headings” canon. SCALIA & GARNER, Reading Law at 35–36.

Clearly the title of a section can aid interpretation. Relevant here, the title of subsection (f) of 21

U.S.C. § 881 is: “Forfeiture and destruction of schedule I or II substances.” When coupled with

the title of the “destruction of contraband” policy codified at 28 C.F.R. § 50.21 it becomes readily

apparent that destruction is the rule, not the exception.

          In sum, the Court concludes that destruction is the default. Moreover, the regulation only

contemplates the Government requesting exceptions to destruction of excess contraband. 28 C.F.R.

§ 50.21(f)(2). Thus, the applicable laws and regulations favor destruction—and the Court will

oblige.

                                          CONCLUSION

          For the reasons set forth in this Memorandum Opinion and Order, the Court DENIES

Defendant’s Motion (Doc. 21) to preserve excess drug contraband evidence.

          IT IS THEREFORE ORDERED that the excess contraband may be destroyed after

March 12, 2024, in accordance with the Court’s previous Order (Doc. 23).

          IT IS FURTHER ORDERED that the Assistant U.S. Attorney prosecuting this case

provide notice to the appropriate DEA agent to effectuate the destruction of the excess evidence

in accordance with this Memorandum Opinion and Order.




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                                               CHIEF UNITED STATES DISTRICT JUDGE

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